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                              UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                    Case No.
                 Plaintiff,
                                                    COMPLAINT FOR CIVIL PENALTIES
         v.

 GEM AIR, LLC, an Idaho limited liability
 company,

                 Defendant.


       Plaintiff the United States of America hereby brings this Complaint against defendant

Gem Air, LLC (“Gem Air”) and alleges as follows:

                                        INTRODUCTION

       1.      This action is brought by the United States under 49 U.S.C. § 46301(a) to recover

civil penalties in the sum of $55,500 from Gem Air for violating airworthiness directives,

operating an aircraft without an approval for the aircraft’s return to service, and for failing to

keep a current status on all applicable airworthiness directives.




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                                 JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction over this action under 49 U.S.C. §§

46301(d)(4) and 46305, and 28 U.S.C. § 1345.

       3.      This Court has personal jurisdiction over Gem Air and venue is proper in this

district under 49 U.S.C. § 46106 and 28 U.S.C. §§ 1391(b) and 1395 because Gem Air’s

principal place of business is in Salmon, Idaho, it regularly conducts business in Idaho, maintains

its records and aircraft in Idaho, and can be found in Idaho.

                                    STATEMENT OF FACTS

       4.      Gem Air is now, and at all relevant times mentioned herein was, an Idaho limited

liability company and is the holder of Air Carrier Certificate No. GAJA077E issued under 14

C.F.R. part 119, and conducts its operations pursuant to 14 C.F.R. part 135. Gem Air offers

commuter flights between Salmon, Idaho and Boise, Idaho, as well as seasonal flights to McCall,

Idaho and Stanley, Idaho.

       5.      A part 135 operator is one who operates as a direct air carrier with passengers on

board for compensation or hire. In its October 2016 amendment to its Operations Specifications,

Gem Air listed ten aircraft that it operates under part 135. Included in that list are:

       a. A Piper model PA31-350 with Civil Registration No. N80GV (the “Piper”);
       b. A Quest Kodiak 100 with Civil Registration No. N838SA (the “Quest”); and
       c. A Cessna T206H with Civil Registration No. N376ME (the “Cessna”).

       6.      As a part 135 operator, Gem Air is required to comply with Federal Aviation

Administration (“FAA”) Regulations. Those regulations contain record keeping requirements, a

requirement that operators follow airworthiness directives, and protocols for returning an aircraft

to service, among other things. For instance, pursuant to 14 C.F.R. § 91.407(a), “[n]o person

may operate any aircraft that has undergone maintenance, preventative maintenance, rebuilding,



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or alteration unless – (1) It has been approved for return to service by [authorized personnel], and

(2) The maintenance record entry required by § 43.9 or § 43.11, as applicable, has been made.”

       7.      The FAA issues airworthiness directives when an unsafe condition is found to

exist in a product and the condition is likely to exist or develop in other products of the same

type design. It is common for airworthiness directives to require inspections of aircraft systems,

parts, and equipment after a specified number of hours of use. For example, AD 2013-10-04

requires a repetitive inspection of the engine exhaust system in intervals not to exceed the sooner

of 60 hours of use or 6 months.

       8.      Between March 21 and 23, 2017, inspectors from the FAA conducted a review of

maintenance records for the above-referenced Gem Air aircraft. The inspection revealed that

Gem Air had overflown airworthiness directives, operated an aircraft without an approval for the

aircraft’s return to service, and failed to keep a current status on all applicable airworthiness

directives.

       9.      In light of such findings, the FAA sent Gem Air a civil penalty letter on

October 10, 2017 proposing a civil penalty of $72,400. After considering Gem Air’s response to

certain of the findings, the FAA withdrew certain penalties. The FAA believes the appropriate

civil penalty is $55,000. However, Gem Air has indicated that it is unwilling to pay a civil

penalty.

                                  FIRST CLAIM FOR RELIEF

       (Violations of Airworthiness Directives and 14 C.F.R. §§ 39.7 and 135.25(a)(2)

                                      Relating To The Piper)

       10.     The United States re-alleges and incorporates by reference each of the allegations

set forth in Paragraphs 1 through 9 above as if fully set forth herein.



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        11.     AD 2013-10-04, which became effective on July 17, 2013, applies to all Piper

Aircraft models, including Piper PA-31-350 aircraft.

        12.     AD 2013-10-04 requires a repetitive inspection of the engine exhaust system in

intervals not to exceed the sooner of 60 hours of use or 6 months.

        13.     On December 20, 2016, Gem Air maintenance personnel performed the AD 2013-

10-04 inspection on both Engine #1 and Engine #2 of the Piper at 369.3 hours total time engine.

        14.     On March 27, 2017, Gem Air maintenance personnel performed the AD 2013-10-

04 inspection on both engines of the Piper at 665.40 hours total time engine, which is 296.1

hours since the previous record entry. Based on these maintenance records, the inspection

appears to be 236.1 hours beyond the required inspection time.

        15.     Pursuant to 14 C.F.R. § 39.7, “[a]nyone who operates a product that does not

meet the requirements of an applicable airworthiness directive is in violation of this section.”

        16.     Pursuant to 14 C.F.R. § 135.25(a)(2), “[e]xcept as provided in paragraph (d) of

this section, no certificate holder may operate an aircraft under this part unless that aircraft -- . . .

[i]s in an airworthy condition and meets applicable airworthiness requirements of this chapter,

including those relating to identification and equipment.”

        17.     Pursuant to 49 U.S.C. § 46301(a)(2), “[a] separate violation occurs under this

subsection . . . for each flight involving the violation.” In light of such, a separate civil penalty

could be assessed for each of Gem Air’s flights during the 236.1 hours of overflight. However,

the United States requests that only two civil penalties of $12,800 be assessed for these

violations for a total penalty of $25,600.




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                                 SECOND CLAIM FOR RELIEF

       (Violations of Airworthiness Directives and 14 C.F.R. §§ 39.7 and 135.25(a)(2)

                                     Relating To The Quest)

       18.     The United States re-alleges and incorporates by reference each of the allegations

set forth in Paragraphs 1 through 17 above as if fully set forth herein.

       19.     The Quest has a serial number of 100-0002.

       20.     AD 2016-06-06, which became effective on April 22, 2016, applies to all Quest

Kodiak 100 airplanes with all serial numbers 100-0001 through 100-0149 which are certified in

any category. It requires repetitive inspection of the cushion edging of the elevator control anti-

rotation guide slot at intervals not to exceed 50 hours time in service.

       21.     On January 9, 2017, Gem Air maintenance personnel performed the inspection

required by AD 2016-06-06 when the Quest had a total time airframe of 2216.8 hours.

       22.     On February 8, 2017, Gem Air maintenance personnel again performed the AD

2016-06-06 inspection when the Quest had a total time airframe of 2273.2, which was 56.4 hours

since the previous inspection.

       23.     On March 6, 2017, Gem Air maintenance personnel performed the AD 2016-06-

06 inspection when the Quest had a total time airframe of 2341.0 hours, which was 67.8 hours

since the previous inspection.

       24.     Between January 9, 2017, and February 8, 2017, Gem Air operated the Quest for

6.4 hours beyond the required inspection per AD 2016-06-06.

       25.     Between February 8, 2017, and March 6, 2017, Gem Air operated the Quest for

17.8 hours beyond the required inspection per AD 2016-06-06.




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          26.   Pursuant to 14 C.F.R. § 39.7, “[a]nyone who operates a product that does not

meet the requirements of an applicable airworthiness directive is in violation of this section.”

          27.   Pursuant to 14 C.F.R. § 135.25(a)(2), “[e]xcept as provided in paragraph (d) of

this section, no certificate holder may operate an aircraft under this part unless that aircraft -- . . .

[i]s in an airworthy condition and meets applicable airworthiness requirements of this chapter,

including those relating to identification and equipment.”

          28.   The United States requests a civil penalty for each of these violations in the

amount of $8,000 for a total civil penalty for these violations in the amount of $16,000.

                                  THIRD CLAIM FOR RELIEF

                             (Violations of 14 C.F.R. § 91.417(a)(2)(v))

          29.   The United States re-alleges and incorporates by reference each of the allegations

set forth in Paragraphs 1 through 28 above as if fully set forth herein.

          30.   Pursuant to 14 C.F.R. § 91.417(a)(2)(v), Gem Air was supposed to maintain

“[r]ecords containing the following information: . . . [t]he current status of applicable

airworthiness directives (AD) and safety directives including, for each, the method of

compliance, the AD or safety directive number and revision date. If the AD or safety directive

involves recurring action, the time and date when the next action is required.”

          31.   Gem Air failed to keep a record of the current status of all applicable

airworthiness directives for the Piper. In particular, Gem Air did not include AD 2013-10-04 in

the list of applicable airworthiness directives for the Piper.

        32.     The United States requests a civil penalty for this violation in the amount of

$7,100.




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                                FOURTH CLAIM FOR RELIEF

                      (Violations of 14 C.F.R. §§ 91.405(b) and 91.407(a))

       33.     The United States re-alleges and incorporates by reference each of the allegations

set forth in Paragraphs 1 through 32 above as if fully set forth herein.

       34.     The Cessna has a Lycoming TIO-540-AJ1A engine.

       35.     AD 2015-19-07, which became effective on November 3, 2015, applies to

Lycoming engines, including Lycoming TIO-540-AJ1A engines. It requires repetitive inspection

of the externally mounted fuel injector lines each 110 hours time in service and after each engine

overhaul.

       36.     On August 21, 2016, Karlton Wilson, who was Gem Air’s Director of

Maintenance, indicated compliance with the inspection requirements of AD 2015-19-07 on a

maintenance work card. However, Wilson did not approve the Cessna for a return to service on

August 21, 2016. Instead, Wilson did not approve the Cessna for a return to service until August

31, 2016.

       37.     Between August 21, 2016, and August 31, 2016, Gem Air operated the Cessna for

8.7 hours without an approval for return to service.

       38.     Pursuant to 14 C.F.R. § 91.405(b), “[e]ach owner or operator of aircraft – . . .

[s]hall ensure that maintenance personnel make appropriate entries in the aircraft maintenance

records indicating that the aircraft has been approved for return to service.”

       39.     Pursuant to 14 C.F.R. § 91.407(a), “[n]o person may operate any aircraft that has

undergone maintenance, preventive maintenance, rebuilding, or alteration unless – (1) It has

been approved for return to service by a person authorized under § 43.9, and (2) The




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maintenance record entry required by § 43.9 or § 43.11, as applicable, of this chapter has been

made.”

         40.     Gem Air violated 14 C.F.R. §§ 91.405(b) and 91.407(a) by operating the Cessna

between August 21 and August 31, 2016 without an approval for return to service.

         41.     The United States requests a civil penalty for Gem Air’s operation of the Cessna

without an approval for return to service in the amount of $6,800.

                                      PRAYER FOR RELIEF

         WHEREFORE, the United States requests that judgment be entered in its favor and

against Gem Air as follows:

         1.      That a judgment be entered on behalf of the United States and against Gem Air in

                 the sum of $55,500.00;

         2.      That the United States be awarded its costs;

         3.      That the United States be awarded post-judgement interest; and

         4.      For such other relief as the Court deems just, equitable, or proper.


         Respectfully submitted this 10th day of April, 2019.



                                                    BART M. DAVIS
                                                    UNITED STATES ATTORNEY
                                                    By:


                                                    /s/ Peter L. Wucetich
                                                    PETER L. WUCETICH
                                                    Assistant United States Attorney




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